     Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


BUC-EE’S, LTD.                                  §
     Plaintiff,                                 §
                                                §
v.                                              §            CASE NO. 4:15-CV-03704
                                                §
SHEPHERD RETAIL, INC., et al.                   §
     Defendants.                                §
                                                §
                                                §

        NON-PARTY BEN E. KEITH COMPANY’S RESPONSE TO BUC-EE’S, LTD.’S
               OPPOSED MOTION FOR LEAVE TO TAKE THE
         DEPOSITION OF BEN E. KEITH CO. EMPLOYEE KAI NEUMANN

       Non-Party Ben E. Keith Company (“BEK”) hereby files this Response to Buc-ee’s, Ltd

(“Buc-ee’s”) Motion for Leave to Take the Deposition of Ben E. Keith Co. Employee Kai

Neumann (Dkt. No. 136) (“the Motion”). BEK opposes Buc-ee’s request as it is highly unlikely

to provide any relevant and admissible evidence, unduly burdens a non-party, and is therefore

disproportionate to the needs of the case.

       Under Rule 26, “[p]arties may obtain discovery regarding any non-privileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case, considering

the importance of the issues at stake in the action, . . . the parties’ relative access to relevant

information, . . . the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1)

(emphasis added). Discovery may be limited on the basis that it is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive and the court “may, for good cause, issue an order to protect a

party or person from annoyance, embarrassment, oppression, or undue burden or expense . . . .”
      Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 2 of 7



Fed. R. Civ. P. 26(b)(2)(C)(i), (c)(1). “Scholarly evaluation of the Federal Rules and the impact

of inclusion of the proportionality concept within Rule 26(b)(1)’s threshold scope of discovery

indicate ‘that non-parties have greater protections from discovery and that burdens on non-

parties will impact the proportionality analysis.’” Hahn v. Hunt, CV 15-2867, 2016 WL

1587405, at *2 (E.D. La. Apr. 20, 2016), aff'd, CV 15-2867, 2016 WL 6518863 (E.D. La. Nov.

2, 2016) (quoting E. Laporte and J. Redgrave, A Practical Guide to Achieving Proportionality

Under New Federal Rule of Civil Procedure 26, 9 Fed. Cts. L. Rev. 57 (2015)).

    A. Non-Party BEK Produced Documents in Response to 2 Subpoenas

        As acknowledged in the Motion, BEK complied with the two subpoenas 1 served on it and

produced responsive documents. It did so in a relatively short period of time and over the

holidays, when many of its employees were out on vacation. The difficulty was compounded by

the fact that the employees with the most knowledge over the topics and the locations of

responsive documents, Mr. Raymond Gibson and Mr. Gerard Bowden, are no longer employees

of BEK. (Dkt. No. 136, at 3 n.1). Aware of the pending trial date in the case, which at the time

was scheduled for January 24, 2017, BEK sent its production on January 6. Because of the

looming trial date, and “[in] the desire to expedite production,” BEK produced documents in

native format, without Bates labels, included an explanation of its production methodology, and

offered to Bates label the documents at Buc-ee’s request. (Dkt. No. 136-7, at 2-3). Buc-ee’s

never objected to BEK’s method of production, nor complained that BEK’s production was

nonresponsive, until March 21, more than two months after production, after it deposed BEK’s

30(b)(6) witness and when it demanded BEK produce a new witness. (Dkt. No. 136-2, at 4).


1
  1st Subpoena served Nov. 30, 2016. 2nd Subpoena served Dec. 21, 2016 which was substantially similar to 1st
Subpoena but added 7 additional entities requiring BEK to change keyword searches and do additional investigation
to ensure all responsive documents were located.




                                                        2
         Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 3 of 7



          Buc-ee’s tries to support its claim by citing how many pages BEK produced in an effort

to claim BEK purposefully concealed one email “in over 30,000 pages of irrelevant documents.”

(Dkt. No. 136, at 5). But the fact of how many documents BEK produced, in native format, is

more important. BEK’s production consisted of only 2,507 emails and 172 other documents.

Most importantly, with the exception of only three hard copy invoices, all the documents were

produced in native format and were easily searchable by Buc-ee’s via keyword. (Dkt. No. 136-7,

at 2).

    B. BEK’s Corporate Representative Was Prepared For Deposition, Buc-ee’s Was Not

          Buc-ee’s colors the facts on the number of produced documents in an attempt to claim

that Mr. Jarrett Pheil, BEK’s designated corporate representative, was unprepared for the

deposition. However, the truth of the matter is that Buc-ee’s was unprepared to depose Mr. Pheil.

          Prior to the February 17, 2017 deposition, Mr. Pheil spent several hours examining the

2,699 produced documents, including the email sent from Kai Neumann to Gerard Bowden

shown on page 4 of the Motion. Along with reviewing 2,699 documents, Mr. Pheil examined the

twelve-word email in question and called Mr. Neumann to understand the email and its meaning.

After speaking to him for approximately five minutes, including reading the email text to him, he

received the response that the email “was a joke,” a fact to which he testified. (Dkt. No. 136-9, at

p. 113, l. 25).

           During the deposition, the email at issue was first discussed on p. 78 of the deposition

transcript. After a very long colloquy, BEK requested Buc-ee’s produce the document to help

Mr. Pheil answer its questions. (Dkt. No. 136-9, at p. 91, ll. 5-7). They did not do so. Therefore,

he testified from memory about 1 email in among 2,698 other documents which he also

reviewed. Had Buc-ee’s done a simple document review to prepare for the deposition, Buc-ee’s




                                                  3
     Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 4 of 7



could have had the subject email to show Mr. Pheil, and he could have been adequately

questioned regarding its contents. Considering the number of documents reviewed by Mr. Pheil

in preparation for the deposition, he did a commendable job testifying about the subject email

and answered every relevant question asked.

   C. Buc-ee’s Fails To Show Requested Deposition Leads to Admissible Evidence

       Putting aside the unfounded allegation that BEK’s representative was unprepared, Buc-

ee’s Motion must fail for the simple reason that they do nothing to demonstrate that their

requested discovery is likely to lead to admissible evidence relevant to their claim or defenses.

Buc-ee’s subpoenas to BEK have been geared toward the creation and development of the Choke

Canyon logo they allege violates their trademark rights. (Dkt. No.’s 136-5, 136-6). As Buc-ee’s

implicitly admits in the Motion, it has already received all the evidence it could possibly need to

prosecute its claims. It deposed the designer of the logo, Mr. Gerard Bowden. (Dkt. No. 136, at

2). It deposed the BEK employee in charge of managing Mr. Bowden’s design work on the logo.

Id. It issued two subpoenas to BEK that required document production of any responsive

documents, which BEK produced. Over BEK’s objection, it took a deposition of the BEK sales

representative who communicated with the Defendants during the time in question.

       Yet Buc-ee’s now seeks to depose a fourth employee of a non-party with no knowledge

of the logo creation and development at issue in the case. Four facts demonstrate that deposing

BEK employee Kai Neumann is unlikely to aid Buc-ee’s case. First, the email in question is

dated November 10, 2014, a full two and a half years after the Choke Canyon logos were

developed. (Dkt. No. 136-7, at 2) (“BEK is also producing the enclosed invoices from Bowden

Design House dated 8 Feb. 2012, 20 Feb. 2012, and 5 March 2012.”). Second, Kai Neumann

transmitted the November 2014 email to Gerald Bowden, the Ben E. Keith employee “who




                                                4
     Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 5 of 7



drafted the logo” and who Buc-ee’s deposed.           During his deposition, Mr. Bowden was

questioned about the creation of banners for the Defendants around November 2014. Kai

Neumann and any communications with him are never mentioned throughout the deposition, a

fact that demonstrates his extremely attenuated connection to this controversy. (Dkt. No. 136-3,

at p. 39, l. 18 to p. 40, l. 14). Third, during Mr. Bowden’s testimony, he disclosed what logos

were used on the banners, which Buc-ee’s is well aware. (Dkt. No. 136-3, at p. 40, ll. 5-7). Kai

Neumann would have no new relevant facts to add based on Mr. Bowden’s testimony. Fourth

and finally, BEK’s corporate representative already testified to the meaning of the email’s

contents. (Dkt. No. 136-9, at 113, l. 25). Requiring BEK to confirm that the email was merely a

joke is unreasonably cumulative, and Buc-ee’s admits as much through its request for only a one

hour deposition. (Dkt. No. 136, at 6).

       The Federal Rules of Civil Procedure protect non-parties in a case from unreasonably

cumulative, overly burdensome, and harassing discovery. BEK previously requested protection

from the court because BEK knew it had no evidence relevant to the case as the parties with

relevant information had already been deposed. Buc-ee’s, Ltd. v. Shepherd Retail, Inc. et al., No.

4:17-mc-00075, Dkt. No. 13, at 1 (S.D. Tex. Jan. 31, 2017) (order denying motion to quash). Yet

BEK’s 30(b)(6) deposition produced no relevant evidence for Buc-ee’s. Buc-ee’s again asks the

court for further discovery which will produce no fruit, but will expend several hours of time for

one of BEK’s employees and will cost BEK in lost productivity and attorney’s fees.


                                             Prayer

       For the reasons above, BEK asks the Court to DENY Buc-ee’s Motion, and award

attorney’s fees and costs to BEK incurred in filing this Response to the Motion. Should the

Court grant Buc-ee’s Motion, then BEK alternatively requests that Buc-ee’s be required to



                                                5
     Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 6 of 7



reimburse BEK for all the cost of preparing for, providing, and defending Mr. Neumann for the 1

hour deposition including BEK’s employee’s cost and BEK’s attorneys’ fees.



                                           Respectfully submitted,

                                           /s/ William B. Nash
                                           William B. Nash
                                           State Bar No. 14812200
                                           Jason W. Whitney
                                           State Bar No. 24066288
                                           HAYNES AND BOONE, LLP
                                           112 East Pecan Street, Suite 1200
                                           San Antonio, TX 78205
                                           Telephone: (210) 978-7000
                                           Facsimile: (210) 978-7450
                                           E-mail:bill.nash@haynesboone.com
                                                    jason.whitney@haynesboone.com
                                                    alex.lutzky@haynesboone.com

                                           ATTORNEYS FOR THIRD PARTY
                                           BEN E. KEITH COMPANY.




                                              6
     Case 4:15-cv-03704 Document 139 Filed on 05/11/17 in TXSD Page 7 of 7



                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing was served via
First Class Mail along with a courtesy copy via electronic mail upon the following counsel to the
underlying cause on May 11, 2017.

        Counsel for Plaintiff
        Buc-ee’s, Ltd.

        Joseph J. Berghammer                       jberghammer@bannerwitcoff.com
        Janice V. Mitrius                          jmitrius@bannerwitcoff.com
        Katherine Laatsch Fink                     kfink@bannerwitcoff.com
        Eric J. Hamp                               ehamp@bannerwitcoff.com
        Ten South Wacker Drive
        Suite 3000
        Chicago, IL 60606-7407
        (312) 463-5000
        (312) 463-5001 fax

        Kevin Meek                                 kevin.meek@bakerbotts.com
        Baker Botts L.L.P.
        98 San Jacinto Blvd., Suite 1500
        Austin, Texas 78701
        T: (512) 322-5471
        F: (512) 322-3622

        Counsel for Defendants
        Shepherd Retail, Inc., et al,
        Charles W. Hanor                           chanor@hanor.com
        Hanor Law Firm PC
        750 Rittiman Road
        San Antonio, Texas 78209
        Telephone: (210) 829-2002
        Facsimile: (210) 829-2001


                                            /s/ William B. Nash




                                               7
